 1   JANEWAY LAW FIRM, LLC
 2   1499 SE Tech Center Place, Suite 255
     Vancouver, WA 98683
 3   Telephone: (360) 260-2253
     S&S No. 18-122810
 4
                              UNITED STATES BANKRUPTCY COURT
 5
                                FOR THE DISTRICT OF OREGON
 6
         In Re:                             Case No. 18-32159-tmb7
 7
         Michelle Anne Baron                MOTION FOR ORDER CONFIRMING
 8         aka Michelle Anne Bevans         INAPPLICABILITY OF THE AUTOMATIC STAY
                                            UNDER 11 U.S.C. § 362(d)(2)
 9
                      Debtor.
10
                                            I. INTRODUCTION
11
            The Bank of New York Mellon FKA the Bank of New York Trustee for the certificate
12

13   holders of the CWALT, INC., Alternative Loan Trust 2007-OA4 Mortgage Pass-Through

14   certificates, series 2007-OA4, serviced by NewRez LLC, f/k/a New Penn Financial, LLC, d/b/a

15   Shellpoint Mortgage Servicing (“Movant”), moves this Court under 11 U.S.C. § 362(d)(2) for an
16   Order confirming that the stay imposed by § 362(a) is not, nor was it ever, in effect, in the above-
17
     captioned bankruptcy case, as to the Movant and real property located at 30620 SW Rose Lane,
18
     Wilsonville, Oregon 97070 (“Property”).
19

20

21                                     II. FACTUAL BACKGROUND

22      On or about February 1, 2007, Brad Hiday and Melinda Hiday executed a promissory note in

23   the principal sum of $750,000.00 (the “Note”), which was made payable to Countrywide Bank,
24
     N.A. Movant currently holds possession and/or is in control of the Note, which is indorsed in
25
     blank. A copy of the Note is attached hereto as Exhibit A and incorporated herein by reference.
26
                                                                            JANEWAY LAW FIRM, LLC
27                                                                    1499 SE Tech Center Place, Suite 255
        1 - MOTION FOR ORDER CONFIRMING                                            Vancouver, WA 98683
28      INAPPLICABILITY OF THE AUTOMATIC STAY                                  Telephone: (360) 260-2253
        UNDER 11 U.S.C. § 362(d)(2)


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        The Note is secured by a recorded Deed of Trust (the “Deed of Trust”) encumbering the
 1

 2   Property. A copy of the Deed of Trust is attached hereto as Exhibit B and incorporated herein by

 3   reference.

 4          Mortgage Electronic Registration Systems, Inc., as nominee for Countrywide Bank, N.A.,
 5
     subsequently assigned its beneficial interest under said Deed of Trust to The Bank of New York
 6
     Mellon FKA the Bank of New York Trustee for the certificate holders of the CWALT, INC.,
 7
     Alternative Loan Trust 2007-OA4 Mortgage Pass-Through certificates, series 2007-OA4,
 8
     recorded October 12, 2011, in the records of Clackamas County, Oregon. A copy of the
 9

10   Assignment of Deed of Trust is attached hereto as Exhibit C and is incorporated herein by

11   reference.
12          On or about January 24, 2015, Brad K. Hiday and Kara L. Rose executed a Bargain and
13
     Sale Deed and conveyed to Turning Leaf Homes, LLC all of Grantors’ rights, title and interest in
14
     the Property. Said Bargain and Sale Deed was recorded on February 9, 2015 in the records of
15
     Clackamas County, Oregon. A copy said deed is attached hereto as Exhibit D and is
16

17   incorporated herein by reference.

18          On February 6, 2017, Turning Leaf Homes IV, LLC filed a voluntary petition under

19   Chapter 11 of the Bankruptcy Code, for the District of Oregon, and was assigned case No. 17-
20   30353-tmb11. Said case was subsequently terminated on November 2, 2017. (In re Turning Leaf
21
     Homes IV, LLC, case no. 17-30353 (Bankr. OR.)).
22
            On June 21, 2018, Debtor commenced the above-captioned bankruptcy case by filing a
23
     voluntary petition under Chapter 7 of the Bankruptcy Code. The Debtor listed the Property on
24

25   her Bankruptcy Schedules and described the nature of ownership interest as “Equitable Interest”.

26
27      2 - MOTION FOR ORDER CONFIRMING                                   JANEWAY LAW FIRM, LLC
        INAPPLICABILITY OF THE AUTOMATIC STAY                       1499 SE Tech Center Place, Suite 255
28      UNDER 11 U.S.C. § 362(d)(2)                                              Vancouver, WA 98683
                                                                             Telephone: (360) 260-2253


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                          III. LEGAL AUTHORTIY & STANDARD OF REVIEW
 1

 2         11 U.S.C. § 362 of the Bankruptcy Code creates an automatic stay applicable to all entities

 3   that, in general, and with some specific exceptions, stays all acts to create, perfect, or enforce any

 4   lien against property of the estate and/or to obtain possession of property of the estate. However,
 5
     the Bankruptcy Code also provides that, "[o]n request of a party in interest […] the court shall
 6
     grant relief from the stay provided under subsection (a) of this section, such as by terminating,
 7
     annulling, modifying or conditioning such stay." 11 U.S.C. § 362(d).
 8
           Generally, the bankruptcy court has wide latitude to determine whether annulment of the
 9

10   automatic stay is appropriate and makes a case-by-case determination by balancing the equities.

11   In re Fjeldsted, 293 B.R. 12, 26 (9th Cir. B.A.P. 2003). Although no one factor is dispositive,
12   courts typically focus on the following factors (among others): (1) whether the debtor engaged in
13
     unreasonable or inequitable conduct, or prejudice would result to the creditor; (2) whether the
14
     totality of circumstances indicate an intention to delay and hinder creditors; and (3) the debtor's
15
     overall good faith. Similarly, the bankruptcy court has the necessary authority to determine that
16

17   the automatic stay was never created and is not, nor it has ever been, in effect. In re Harder,

18   Adv. Proc. 08-3265 (Bankr. OR.).

19         11 U.S.C. § 541(a)(1) of the Bankruptcy Code provides that “(a) The commencement of a
20   case under section 301 […] of this title creates an estate. Such estate is comprised of all the
21
     following property, wherever located and by whomever held: (1) [...] all legal or equitable
22
     interests of the debtor in property as of the commencement of the case.”
23
     ///
24

25   ///

26
27         3 - MOTION FOR ORDER CONFIRMING                                   JANEWAY LAW FIRM, LLC
           INAPPLICABILITY OF THE AUTOMATIC STAY                       1499 SE Tech Center Place, Suite 255
28         UNDER 11 U.S.C. § 362(d)(2)                                              Vancouver, WA 98683
                                                                                Telephone: (360) 260-2253


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        The principles of corporate law hold that a corporation or LLC and its stockholders or
 1

 2   members are separate legal entities, and that the corporation or LLC owns the assets, not the

 3   stockholders or members. In re HSM Kennewick, L.P., 347 B.R. 569, 571-72 (Bankr. N.D. Tex.

 4   2006); Sun Towers, Inc. v. Heckler, 725 F.2d 315, 318 (5th Cir. 1984).
 5

 6
                                              IV. ARGUMENTS
 7
        It is the Movant position that, an order confirming that the filing of the above-captioned
 8
     bankruptcy case did not create a stay, in regard to the Property or the Movant, is warranted as the
 9

10   Property is not a property of the Debtor’s bankruptcy estate.

11      The Movant conducted a due-diligence research into the public records regarding Turning
12   Leaf Homes, LLC and the Debtor and was unable to find any legal connection between the
13
     Debtor and Turning Leaf Homes, LLC other than the Debtor is married to Tracy Baron who
14
     appears to be the shareholder of Turning Leaf Homes, LLC.
15
        Therefore, it appears that to the extent that Turning Leaf Homes, LLC owns the Property, the
16

17   Debtor herself does not own the Property and does not have an interest in the Property, since

18   Turning Leaf Homes, LLC is a separate legal entity from the Debtor. As a result, the Property is

19   not part of the Debtor’s bankruptcy estate and the automatic stay does not apply to the Property
20   and the Movant.
21
        Even if, for the sake of this argument, the Movant would stipulate that the Debtor has an
22
     ownership interest in Turning Leaf Homes, LLC, our analysis would not change. The automatic
23
     stay afforded to the Debtor upon filing a bankruptcy case does not extend to the corporation she
24

25   may or may not have any interest in, because, again, they are two separate legal entities and the

26   Debtor herself would not have owned the Property, but rather Turning Leaf Homes, LLC.

27      4 - MOTION FOR ORDER CONFIRMING                                    JANEWAY LAW FIRM, LLC
        INAPPLICABILITY OF THE AUTOMATIC STAY                        1499 SE Tech Center Place, Suite 255
28      UNDER 11 U.S.C. § 362(d)(2)                                               Vancouver, WA 98683
                                                                              Telephone: (360) 260-2253


                           Case 18-32159-tmb7        Doc 120     Filed 03/22/20
        In the event this court refrain from issuing the order confirming that the filing of the above-
 1

 2   captioned bankruptcy case did not create a stay in regard to the Property or the Movant, there

 3   will be greater prejudice to Movant than to the Debtor. More specifically, Movant will incur

 4   additional, otherwise avoidable, fees and costs in this case. Conversely, Debtor and the estate
 5
     will not be prejudiced, nor would they be harmed, because the Property is not an asset to the
 6
     estate and Movant is entitled to foreclose on the Real Property pursuant to applicable state law.
 7
        If it is obvious, as Movant believe it is in this case, that a debtor is unreasonably
 8
     attempting to deter the Movant in their bona fide efforts to realize upon their securities, good
 9

10   faith does not exist. In re Thirteenth Place, Inc., 30 B.R. 503, 505 (9 th Cir. B.A.P. 1983)). In

11   the absence of extraordinary circumstances, successive or serial filings, for the purposes of
12   reimposing the automatic stay should not be viewed with favor by the court. In re McKissey,
13
     103 B.R. 189, 192 (Bankr. N.D. IL 1989) (citing In re Russo, 94 B.R. 127, 129 (Bankr. N.D.
14
     IL 1988)).
15

16

17                                             V. CONCLUSION

18      WHEREFORE, For all of the reasons discussed herein, Movant is entitled to an Order from

19   the Court confirming that under § 362(d)(2) of the Bankruptcy Code, the stay imposed by §
20   362(a) of the Bankruptcy Code was not in effect in the above-captioned bankruptcy case.
21

22
                       Dated this 22nd day of March, 2020.
23

24
     /s/ Gadi Shahak
25   Gadi Shahak, OSB # 180865
     Attorney for Movant
26
27      5 - MOTION FOR ORDER CONFIRMING                                    JANEWAY LAW FIRM, LLC
        INAPPLICABILITY OF THE AUTOMATIC STAY                        1499 SE Tech Center Place, Suite 255
28      UNDER 11 U.S.C. § 362(d)(2)                                               Vancouver, WA 98683
                                                                              Telephone: (360) 260-2253


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EXHIBIT D
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 1   JANEWAY LAW FIRM, LLC
 2   1499 SE Tech Center Place, Suite 255
     Vancouver, WA 98683
 3   Telephone: (360) 260-2253
     S&S No. 20-126484
 4
                             UNITED STATES BANKRUPTCY COURT
 5
                               FOR THE DISTRICT OF OREGON
 6
         In Re:                                          Case No. 18-32159-tmb7
 7
         Michelle Anne Baron                             DECLARATION OF MAILING
 8         aka Michelle Anne Bevans
 9
                      Debtor.
10

11          I, Gadi Shahak, being duly sworn depose and say the following:
12          1. On March 22, 2020, I deposited in the United States Mail, postage prepaid, copies of a
13
     Motion for Order Confirming Inapplicability of the Automatic Stay under 11 U.S.C. § 362(d)(2).
14
            2. The parties given notice of the Motion by The Bank of New York Mellon FKA the
15
     Bank of New York Trustee for the certificate holders of the CWALT, INC., Alternative Loan
16

17   Trust 2007-OA4 Mortgage Pass-Through certificates, series 2007-OA4, serviced by NewRez

18   LLC, f/k/a New Penn Financial, LLC, d/b/a Shellpoint Mortgage Servicing, were served by

19   depositing a copy of the same in the United States mail postage prepaid addressed as follows:
20
     Michelle Anne Baron
21   1701 SE Oak Shore Ln
     Oak Grove, OR 97267
22

23

24

25

26
                                                                          JANEWAY LAW FIRM, LLC
27                                                                  1499 SE Tech Center Place, Suite 255
       1 – DECLARATION OF MAILING                                                Vancouver, WA 98683
28                                                                           Telephone: (360) 260-2253


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     Via ECF Notice:
 1

 2   Lawrence A Castle
     174 NW 3rd Ave
 3   Canby, OR 97013

 4   Kenneth S Eiler
     515 NW Saltzman Rd - PMB 810
 5
     Portland, OR 97229
 6
     US Trustee, Portland
 7   620 SW Main St #213
     Portland, OR 97205
 8

 9
             Dated this 22nd day of March, 2020.
10

11
     /s/ Gadi Shahak
12   Gadi Shahak
13

14

15

16

17

18

19
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22

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25

26
                                                                      JANEWAY LAW FIRM, LLC
27                                                              1499 SE Tech Center Place, Suite 255
        2 – DECLARATION OF MAILING                                           Vancouver, WA 98683
28                                                                       Telephone: (360) 260-2253


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